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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                   SAN ANGELO DIVISION

 DR. JAMES JONES,                                  §
                                                   §
         Plaintiff,                                §
                                                   §
 v.                                                §        CIVIL ACTION NO. 6:09-CV-090-C
                                                   §
 ANGELO STATE UNIVERSITY,                          §
                                                   §
         Defendant.                                §


      PLAINTIFF’S RESPONSE TO DEFENDANT’S RULE 56 AND 12(C) MOTIONS
       FOR SUMMARY JUDGMENT AND/OR JUDGMENT ON THE PLEADINGS

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        NOW COMES Dr. James Jones, Plaintiff in the above-styled and numbered cause (“Plaintiff”),

and pursuant to Rule 56 of the Federal Rules of Civil Procedure and Local Rules 7.1 and 56.4, files this,

his Response to Defendant’s Rule 56 and 12(c) Motions for Summary Judgment and/or Judgment on the

Pleadings, and in support thereof would respectfully show the Court the following:

        1.      Through this Response, Plaintiff seeks an Order denying any and all relief sought by

Defendant in Defendant’s Rule 56 and 12(c) Motions for Summary Judgment and/or Judgment on the

Pleadings, which was filed by Defendant on January 29, 2011.

        2.      Pursuant to Local Rule 56.4(b), each of the required matters listed under Local Rule

56.4(a) are set forth in Plaintiff’s Brief in Support of Plaintiff’s Response to Defendant’s Rule 56 and

12(c) Motions for Summary Judgment and/or Judgment on the Pleadings (“Plaintiff’s Brief”).

        3.      In support of this Response, Plaintiff hereby references and fully incorporates herein by

this specific reference: (1) Plaintiff’s Brief; (2) the summary judgment evidence filed as Plaintiff’s

Appendix in Support of Plaintiff’s Response to Defendant’s Rule 56 and 12(c) Motions for Summary




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Judgment and/or Judgment on the Pleadings; and (3) the pleadings and documents of record in this

matter.

          4.    Through this Response, Plaintiff’s Brief, and Plaintiff’s summary judgment evidence,

Plaintiff contends the following:

A.        Rule 12(c) Motion for Judgment on the Pleadings

          (1)   Plaintiff may bring claims against Defendant under the Texas Constitution, and he is
                not limited to bringing state constitutional claims only against state officials in their
                official capacities.

          (2)   Plaintiff has not sued for monetary relief under the Texas Constitution, and he only
                seeks equitable relief, which is permitted.

B.        Motion for Summary Judgment

          (1)   Plaintiff timely filed his Title VII claims within the 90-day statute of limitations
                because he filed his original suit in the Northern District of Texas, San Angelo
                Division, within the requisite time period, and that suit tolled the limitations period,
                thus, making the filing of the state court suit (which is this current suit that was
                removed and transferred by Defendant) timely.

          (2)   All of Plaintiff’s claims under Title VII and Chapter 21 of the Texas Labor Code (and
                the conduct giving rise to them) are covered by his EEOC/TWC Charge because the
                conduct is all interrelated and a continuous course of action by Defendant.

          (3)   The notice requirement under the Texas Religious Freedom Restoration Act is not
                jurisdictional, and Plaintiff gave Defendant actual and timely notice of the claim.

          (4)   There is evidence that Defendant breached its contracts and agreements with Plaintiff
                because Defendant failed to follow its own policies, procedures, guidelines, rules,
                and/or regulations, which are a part of Plaintiff’s contracts and agreements. Also,
                Plaintiff has suffered damage, as he was not afforded the opportunity to continue his
                employment (non-reappointed) because Defendant used Plaintiff’s religion as a
                motivating factor in the non-reappointment. Additionally, Defendant injured or
                damaged Plaintiff’s future employability.

          (5)   Plaintiff was replaced by someone who is not an evangelical Christian and who does
                not openly express or identify his religious beliefs and practices. Also, Plaintiff was
                treated less favorably than other faculty members, who did not openly express or
                identify their religious beliefs and practices.

          (6)   While Defendant may try to mask its non-reappointment of Plaintiff as based on
                “non-discriminatory” reasons, there is evidence that Plaintiff’s religious speech was a
                motivating factor in his non-reappointment.


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        (7)     Plaintiff has properly asserted a claim under the Federal Declaratory Judgment Act,
                as there is a present, continuing harm or future harm in that Defendant interprets and
                applies its policies to improperly prevent religious speech. Also, Plaintiff does not
                need to name a state official, and he seeks proper declarations.

                                               PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff requests the Court to deny

Defendant’s Rule 56 and Rule 12(c) Motions for Summary Judgment and/or Judgment on the

Pleadings, in all things. Plaintiff further requests the Court to grant him such other and further relief,

both general and special, at law or in equity, to which he may show himself justly entitled.

                                                Respectfully submitted,


                                                _/s/ Michael Y. Kim________________
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                                                Michael Y. Kim              24039960
                                                Christie L. Hobbs           24059961

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 4, 2011, I electronically filed the foregoing with the clerk for

the U.S. District Court, Northern District of Texas, using the CM/ECF system which will send

notification of such filing to case participants registered for electronic notice, including the following

counsel of record:

        Daniel C. Perkins
        Assistant Attorney General
        Texas Attorney General’s Office
        General Litigation Division
        P.O. Box 12548, Capitol Station
        Austin, Texas 78711-2548.


                                                _/s/ Michael Y. Kim________________
                                                Michael Y. Kim




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